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                                                                                               2022 May-09 PM 03:10
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

    DANIELLE THREADFORD and
    WILLIAM HOLMES, on behalf of the
    McKinney Communications Corporation
    Employee Stock Ownership Plan, and on
    behalf of a class of all other persons
    similarly situated,
                                                      Case No. 2:20-cv-750-RDP
                         Plaintiffs,
                                                      Joint Motion
    v.

    HORIZON TRUST AND INVESTMENT
    MANAGEMENT, N.A.,
    RODDY McKINNEY, and
    JANICE McKINNEY,

                         Defendants.


         JOINT MOTION FOR EXTENSION OF DEADLINE TO FILE MOTION FOR
                   PRELIMINARY APPROVAL OF SETTLEMENT

          Plaintiffs Danielle Threadford and William Holmes, Defendant Horizon Trust, 1 and

Defendants Roddy McKinney and Janice McKinney (collectively, the “Parties”), by and through

their undersigned counsel, respectfully request that the Court extend the deadline for filing the

motion for preliminary approval of their class action settlement agreement by one week to May

17, 2022. In support of this joint motion, the Parties state as follows:

          1.     On March 25, 2022, Plaintiffs filed a Notice of Settlement advising the Court that

the Parties had reached an agreement in principle to settle this lawsuit on a class basis and agreed

to key terms. (Doc. # 114).



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 “Horizon Trust” is used here as shorthand for Horizon Bank, d/b/a Horizon Trust & Investment
Management. Plaintiffs named as defendant “Horizon Trust and Investment Management,
N.A.,” which does not exist.
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       2.      The same day, the Court issued an Order setting a deadline of May 10, 2022 for

the filing of the motion for preliminary approval of the settlement. (Doc. # 115).

       3.      Since that time, the Parties and their counsel have worked diligently to negotiate,

draft, and revise the written class action settlement agreement, the plan of allocation for

distributing the settlement proceeds to the putative settlement class, the motion for preliminary

approval, the proposed order granting preliminary approval, the notice of the settlement to the

putative settlement class, and other necessary materials. Those efforts also have involved

negotiations with McKinney Communications Corporation, as well as communications with the

current trustee for McKinney Communications Corporation Employee Stock Ownership Plan

(“Plan”) and the Plan’s third party recordkeeper.

       4.      Despite their best efforts to meet the May 10 deadline, the Parties require a brief

extension of time to complete their negotiations and revisions to the settlement papers, so that the

preliminary approval motion and all supporting documents can be finalized.

       5.      This motion is made in good faith and not for any improper purpose. All Parties

have agreed to the requested extension, and the extension will not prejudice any Party.

       WHEREFORE, for the reasons stated above, the Parties respectfully request that the

Court enter an order extending the deadline for filing the motion for preliminary approval of the

Parties’ class action settlement to May 17, 2022.

Dated: May 9, 2022                                   Respectfully submitted,

BAILEY & GLASSER LLP                                 MAYNARD, COOPER & GALE, P.C.

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 9th day of May, 2022, the foregoing was filed

using the Court’s CM/ECF system, which will serve notice upon all counsel of record.

                                                    /s/David L. Selby, II
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